        Case 3:17-cv-00183-TCB Document 89 Filed 05/04/20 Page 1 of 3

                 IN THE UNITED STATES DISTRICT COURT                      FILED. IN CLERK'S Oft!CE
                                                                             U.S.D.C. - Newnan
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           NEWNAN DIVISION                                  MAY 0 4 2020
                                                                         JAMES N. HATTEN, erk
                                                                       By
                                                                       B                 /
                                                                                                 ty Clerk


ERNEST HAYWARD WARD,
      Pro- Se Plaintiff,


v.                                                   NO.3 :17-CV-183-TCB-RGV


TROUP COUNTY SCHOOL DISTRICT,
      Defendant.


                       PLAINTIFFS' NOTICE OF APPEAL

      PLEASE TAKE NOTICE that the Pro-Se Plaintiff hereby appeals to the

United States Court of Appeals for the Eleventh Circuit from each and every part

of the final judgement dismissing Plaintiffs' claims, entered by the District Court

Clerk in the above-caption case on April 8, 2020 (Document No. 87, 88).

Dated: May 4, 2020

Respectfully submitted,


                   AZ. (
Ernest H. Ward, Pro-Se Plaintiff      SA/2        o 2_
222 Clearview Court
LaGrange, GA 30240
706-302-0345
        Case 3:17-cv-00183-TCB Document 89 Filed 05/04/20 Page 2 of 3

                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF GEORGIA
                                   NEWNAN DIVISION




Ernest H. Ward
                   Pro-se Plaintiff


vs.                               CIVIL ACTION NO.3:17-CV-183-TCB-RGV


Troup County School District
                   Defendants


                   CERTIFICATE OF SERVICE
      On 5/4/2020, I sent a copy of the Pro-SE Plaintiff's Notice of Appeal
through the United States Postal Services located in LaGrange, Georgia to Kenneth
D. Jones attorney for defendants. The proper postage was paid and addressed to the
following:
Jacob Stalvey O'neal
Kenneth D. Jones
191 Peachtree Street, N.E.,
Suite 2900,
Atlanta, GA 30303-1775
Tel: 404-954-5000
Fax: 404-954-5020




                 5/z7/2,2o                    Ernest Hayward Ward
                                              222 Clearview Court
                                              LaGrange, Georgia 30241
Case 3:17-cv-00183-TCB Document 89 Filed 05/04/20 Page 3 of 3




                                   Court,Namq Northern District
                                   vivislon:                      of Geoqia
                                   Receipt Number: G0N300002014
                                  Cashier ID: dbarfiel
                                  Transaction Date: 05/05
                                  Payer Name: ERNEST       /2020
                                                       HAYWARD WARD
                                  ---------------------------------
                                  NOTICE OF
                                             APPEAL/DOCKETING FEE
                                   For: ERNEST
                                                HAYWARD-WRD
                                   Case/Party:
                                   Amount:      D-GAN-3-17-CV-000183-001
                                              -    $505.00
                                  ------------------------
                                  PAPER CHECK CONVERSION 7--------
                                   Check/Money Order Hum:
                                   Amt Tendered:          26516968121
                                                  $505.00
                                 -----------------
                                 Total Due:        ----------------
                                 Total Tendered: $505.00
                                                 $305.00
                                 Change Amt:
                                                 $0.00
                                Notice Of Appeal
                                                 ,
                                3:17-cv-183-TCB-RGV

                                 With a check
                                              payment you authorize
                                us either to use
                                your check to makeinformation from
                                                    a one-time
                                electronic fund
                                                transfer from your
                               account or to process
                               as a check              the payment
                                           transaction. For
                               inquiries or privacy
                               information,call
                                                 404-215-1625
